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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA

                                                CASE NUMBER: 12-20269
v.                                              HONORABLE VICTORIA A. ROBERTS


D-1, GLENN ENGLISH,
D-3, RICHARD HOGAN,
D-4, DONALD BERRY,

                Defendants.
_________________________________/

        ORDER REGARDING DEFENDANTS’ MOTION IN LIMINE (DOC. 91)

I.    INTRODUCTION

      This matter is before the Court on defendant Glenn English’s Motion in Limine to

Prohibit the Government from Introducing Alleged Prior Acts of Misconduct. Co-

defendants Richard Hogan and Donald Berry each filed a notice of concurrence in this

motion; in addition, Berry filed a Supplemental Brief in Support of Defendants’ Motion in

Limine. (Doc. 94). The Government filed a Response to Defendants’ motion and

Berry’s supplemental brief. Defendants did not reply to the Government’s Response.

      Defendants’ motion requests the Court to exclude evidence of “other acts”

allegedly showing they participated in health care fraud with certain businesses and

individuals not referred to in the indictment. Defendants say this evidence is

inadmissible because its probative value is substantially outweighed by its prejudicial

effect. Berry also argues, individually, that the Government failed to provide exculpatory

and impeachment evidence, and failed to disclose discovery in a “usable and non-

confusing fashion.”
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      Defendant Berry was severed from English and Hogan due to medical reasons;

no trial date has been scheduled for Berry.

      Defendants’ Motion in Limine is DENIED IN PART. The Court RESERVES

RULING IN PART, as follows:

      (1) As to all defendants, the Court RESERVES RULING on the admissibility of

evidence concerning Funderburg Clinical and Community Services, Inc., and Dr. Mark

Greenbain, one of its operators;

      (2) As to Berry, the Court RESERVES RULING on the admissibility of evidence

concerning Gerald Brickerson, an individual named in the Government’s supplemental

discovery notice to Berry; and

      (3) In all other respects, Defendants’ Motion in Limine is DENIED.

II.   BACKGROUND

      On May 2, 2012, the Government filed an indictment listing six defendants: Glenn

English, Gregory Lawrence, Richard Hogan, Donald Berry, Felicia Marsh, and Jamie

Moreau. Defendants Lawrence, Marsh, and Moreau pled guilty and entered into

cooperation agreements with the Government.

      In its First Superseding Indictment (the “Indictment”), the Government charges

Defendants English, Hogan, and Berry (collectively “Defendants”) with Conspiracy to

Commit Health Care Fraud, in violation of 18 U.S.C. § 1349 (Count 1); it also charges

English and Berry with Health Care Fraud, in violation of 18 U.S.C. §§ 1347 and 2

(Counts 2-8).

      The charges are based on Defendants’ connection to New Century Adult Day



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Program Services, LLC (“New Century”), a Medicare provider that submitted claims

directly to Medicare. The Government says English incorporated New Century in

October 2009 and held it out to be an adult day care center providing psychotherapy

and other mental health services. The Government’s general allegations are that from

October 2009 to April 2012: (a) English and Hogan obtained Medicare beneficiary

numbers by recruiting people off the street who wanted prescription medication and by

busing in mentally-disabled Medicare recipients from adult foster homes; (b) Defendants

paid and received kickbacks in exchange for Medicare beneficiary information; (c) Berry

created and signed false psychotherapy documents for Medicare beneficiaries who did

not need or receive the services New Century claimed to provide; (d) Defendants

fraudulently billed Medicare for health services that were not provided; and (e)

Defendants received, and were unjustly enriched by, the proceeds of the fraudulent

Medicare billings.

       In its first discovery notice to Defendants, the Government indicated that it was

“unsure” if it would offer “other acts” evidence under Fed. R. Evid. 404(b). On August

29, 2013, the Government filed supplemental discovery notices for English and Berry.

In these notices, the Government says it will offer evidence under Rule 404(b) against

English and Berry; the Government says the listed evidence is relevant to, and

“inextricably intertwined” with, evidence of the offenses charged. The Government has

not notified Hogan of an intent to offer other acts evidence against him.

       In its supplemental discovery notice to English, the Government says it will offer

evidence that he participated in health care fraud in connection with the following

businesses and individuals: (1) Angle’s Touch Home Health Care, LLC (“Angle’s

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Touch”); (2) Extended Care Phase II, Inc. (“Extended Care”); (3) First Michigan Home

Health Care, Inc. (“First Michigan”); (4) Funderburg Clinical and Community Services,

Inc. (“FCCS”); (5) Procare Rehabilitation, Inc. (“Procare”); (6) Quality Mental Health

Service, Inc. (“Quality Mental”); (7) Quality Recreation and Rehabilitation, LLC (“QRR”);

(8) ABIX, LLC; (9) Sanyani Edwards; (10) Gerald R. Funderburg, Jr.; (11) Marcus

Jenkins; (12) Beth Jenkins; (13) Babubhai Patel; (14) Vinod Patel; (15) Dr. Sonjai

Poonpanij; (16) Dr. Mark Greenbain; (17) Elaine Lovett; and (18) Michelle Freeman.

(Doc. 88).

       In Berry’s notice, the Government says it will offer evidence that Berry

participated in health care fraud with many of the same businesses and individuals as

English; the Government names one additional individual, Gerald Brickerson, and does

not list Angle’s Touch, First Michigan, Sanyani Edwards, Babubhai Patel, Vinod Patel,

or Dr. Poonpanij in Berry’s notice. (Doc. 89).

       On September 12, 2013, English filed Defendants’ Motion in Limine. In their

motion, Defendants say the evidence listed in the supplemental discovery notices is not

inextricably intertwined with evidence of the charged offenses. Defendants also argue

the evidence is inadmissible under Rule 404(b) because the Government did not

indicate a proper purpose for which the “other acts” evidence is admissible, and the

danger of unfair prejudice substantially outweighs the probative value of the evidence.

       Berry filed a supplemental brief in support of Defendants’ motion. Berry says the

Government failed to provide Defendants with exculpatory evidence or Rule 404(b)

evidence in a reasonable and organized manner.

       In its response, the Government explains the factual background of the alleged

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health care fraud conspiracy, explains how evidence of the individuals and businesses

in the supplemental discovery notices connect to the crimes charged, and explains the

purpose for which it intends to offer that evidence. The Government says the evidence

is admissible because it: (1) is part of the fraud charged in the Indictment and not “other

acts”; (2) constitutes inextricably intertwined, or background, evidence necessary to

complete the story of the charged conduct; and/or (3) is permitted under Rule 404(b) to

demonstrate Defendants’ intent to defraud, plan to defraud, knowledge of what they

were doing, and absence of mistake or accident. In response to Berry’s supplemental

brief, the Government says it has complied with all discovery obligations and is not

aware of any exculpatory evidence to disclose.

III.   APPLICABLE LAW

       In evaluating the admissibility of evidence, the Court must first determine whether

the proposed evidence is relevant. Evidence is relevant if “it has any tendency to make

a fact [of consequence] more or less probable than it would be without the evidence.”

Fed. R. Evid. 401. Absent a statute or rule to the contrary, all relevant evidence is

admissible. Fed. R. Evid. 402. However, the Court “may exclude relevant evidence if

its probative value is substantially outweighed by a danger of ... unfair prejudice...” Fed.

R. Evid. 403.

       A.       “Other Acts” Evidence under Fed. R. Evid. 404(b)

       Under Fed. R. Evid. 404(b), “[e]vidence of a crime, wrong, or other act is not

admissible to prove a person’s character.” However, such evidence may be used to

prove “motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident.” Id. In a criminal case, the prosecution must provide a

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defendant with notice of the general nature of its plan to use 404(b) evidence. Id.

       The Court has broad discretion in determining the admissibility of bad acts

evidence under Rule 404(b). United States v. Stout, 509 F.3d 796, 799 (6th Cir. 2007).

In making this determination, the Court must: (1) decide whether there is sufficient

evidence that the other act in question actually occurred and defendant committed the

act; (2) if sufficient evidence exists, decide whether the other act evidence is probative

of a material issue other than character; and (3) if it is, decide whether the probative

value of the evidence is substantially outweighed by its potential prejudicial effect.

United States v. McGee, 510 Fed. Appx. 377, 381 (6th Cir. 2013) (citing United States

v. Jenkins, 345 F.3d 928, 937 (6th Cir. 2003)).

       B.     “Inextricably Intertwined” or “Intrinsic” Evidence

       “Where the challenged evidence is ‘intrinsic’ to, or ‘inextricably intertwined’ with

evidence of, the crime charged, Rule 404(b) is not applicable.” United States. v.

Marrero, 651 F.3d 453, 471 (6th Cir. 2011) (quoting United States v. Henderson, 626

F.3d 326, 338 (6th Cir. 2010)). The Sixth Circuit has said intrinsic acts “are those that

are part of a single criminal episode. Rule 404(b) is not implicated when the other

crimes or wrongs evidence is part of a continuing pattern of illegal activity.” United

States v. Adams, 722 F.3d 788, 822 (6th Cir. 2013) (quoting United States v. Barnes, 49

F.3d 1144, 1149 (6th Cir. 1995)). In addition, 404(b) does not exclude proper

“background” evidence; “[p]roper background evidence has a causal, temporal or spatial

connection with the charged offense. Typically, such evidence is a prelude to the

charged offense, is directly probative of the charged offense, arises from the same

events as the charged offense, forms an integral part of a witness’s testimony, or

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completes the story of the charged offense.” United States v. Hardy, 228 F.3d 745, 748

(6th Cir. 2000).

IV.    ANALYSIS

       A.     Evidence of the Fraud Scheme (Listed Evidence: Babubhai Patel, Vinod
              Patel, First Michigan, Angle’s Touch, and Dr. Poonpanij)

       English requests that the Court exclude evidence of his activities with Babubhai

Patel, Vinod Patel, First Michigan, Angle’s Touch, and Dr. Poonpanij.

       The Government says the Patel brothers: (1) provided the start-up funding for

New Century; (2) helped recruit Medicare beneficiaries for English and New Century; (3)

helped English find a physician assistant to write prescriptions for New Century’s

Medicare beneficiaries; (4) provided New Century’s recruited patients with prescriptions

from pharmacies Babubhai Patel owned; and (5) connected New Century with First

Michigan, a home health care company. The government intends to introduce a wire tap

of Babubhai Patel and English discussing New Century’s business. In addition, Gregory

Lawrence, a co-defendant who pled guilty, will testify to the Patel’s relationship with

English and New Century.

       In August 2011, the Patels and their co-conspirators were arrested for Medicare

fraud in connection with Patels’ pharmacies. After these arrests, English partnered with

Angle’s Touch and Dr. Poonpanij to take over for First Michigan and the physician

assistant previously writing prescriptions. The government says Medicare beneficiaries

at New Century, including William McIntyre and Sherry Cooper, will testify that Hogan

would escort patients to Dr. Poonpanij’s office at New Century to get the drugs they

wanted; New Century told patients that in order to see the doctor who wrote the


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prescription, they had to sign up for fake psychotherapy services with New Century and

fake therapy services through Angle’s Touch. The Government argues that the

evidence of New Century and English’s involvement with the Patels, First Michigan,

Angle’s Touch, and Dr. Poonpanij “is directly probative of the charged offense [and]

completes the story of the charged offense.”

       The Court agrees. This evidence shows the formation of New Century and

explains how English allegedly carried out the fraud at New Century. See Hardy, 228

F.3d at 748. This evidence is also intrinsic to the crimes charged; English’s interaction

with the Patels and First Michigan, and later with Angle’s Touch and Dr. Poonpanij, is

directly connected to the charged conduct and constitutes part of the single criminal

episode alleged in the Indictment (i.e., English defrauding Medicare through New

Century). See McGee, 510 Fed. Appx. at 381; Barnes, 49 F.3d at 1149.

       In addition, English’s state of mind is an element of Health Care Fraud and is

also part of the Government’s allegation that Defendants willfully conspired to defraud

Medicare. See 18 U.S.C. §§ 1347, 1349; United States v. Stokes, 392 Fed. Appx. 362,

367 (6th Cir. 2010). Because intent, knowledge, plan, and absence of mistake are

material issues, see id., this evidence is directly probative to the underlying fraud

charges. It will assist the trier of fact in determining: (1) English’s intent to defraud; (2)

English’s knowledge of the fraud; (3) the absence of a mistake or accident; and (4)

whether there was a common plan. The probative value of this evidence outweighs the

danger of unfair prejudice; therefore, the Court will not exclude it.

       B.     Evidence of Overlapping Billing of Beneficiaries (Listed Evidence:
              FCCS, Gerald Funderburg, Sanyani Edwards, Dr. Greenbain, Procare,
              QRR, Marcus Jenkins, Beth Jenkins, ABIX, Elaine Lovett, and Michelle

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              Freeman)

       The Government plans to offer evidence related to numerous businesses

connected with Defendants and New Century, as well as evidence regarding the

businesses’ individual operators. With such evidence, the Government intends to show

numerous instances where Defendants’ billing at New Century overlaps with billing at

the other businesses.

       The Government names Procare and QRR – along with their operators, Marcus

and Beth Jenkins – in its supplemental discovery notices. Beth Jenkins will testify that,

beginning in 2008, she, English, and Berry entered into an agreement in which English

provided Procare and QRR with 54 Medicare beneficiaries in exchange for money.

Under this agreement, the Jenkins allowed Berry to establish a Provider Identification

Number (“PIN”) at Procare and QRR and agreed that the 54 beneficiaries would be

billed using his PIN.

       In addition, the Government says Medicare billing records show that Berry billed

for psychotherapy services at Procare on the same date he billed for psychotherapy

services at New Century. The Government says that even though Berry has a PIN at

Procare and QRR, he never actually provided services at these companies. The

Government also plans to introduce Berry’s timesheet at QRR to show he fabricated

progress notes at ABIX (which Lovett and Freeman operated).

       This evidence is intrinsic to, and directly probative of, the charged offenses.

Similar to the evidence related to the Patels, First Michigan and Angle’s Touch, the

evidence of overlapping billing is part of the same criminal episode alleged in the

Indictment. Thus, this evidence is inextricably intertwined with evidence of the charged

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 offense and is admissible. See McGee, 510 Fed. Appx. at 381.

        Alternatively, this evidence is admissible under Fed. R. Evid. 404(b), because it

 is probative of a material issue other than Defendants’ character. The testimony of Beth

 Jenkins and Gerald Funderburg about Defendants’ conduct, along with the Medicare

 billing records, explains how the fraud at New Century was carried out. In addition, this

 evidence is probative of: (1) Defendants’ knowledge of the fraud; (2) Defendants’ intent

 to commit fraud; (3) whether their was a common plan; and (4) the absence of mistake

 or accident. The danger of unfair prejudice does not substantially outweigh the

 probative value of this evidence; thus, the Court will not exclude it.

        The Government also plans to introduce Medicare billing records for New

 Century and FCCS. With this evidence, the Government intends to show that “New

 Century was billing for psychotherapy services on the same date that these services

 were billed by FCCS.” FCCS was operated by Gerald Funderburg, Sanyani Edwards,

 and Dr. Greenbain. The Government says Funderburg can testify that he and Edwards

 met with English and Berry at New Century in late 2009 to discuss the fraud occurring at

 New Century – specifically that New Century did not have enough licensed providers to

 service all of its patients.

         Although the Government intends to offer the Medicare billing records of FCCS

 to show New Century billed certain services on the same date that FCCS billed the

 services, it fails to provide facts sufficient for the Court to determine whether such

 conduct is relevant. The Government’s response fails to explain: (1) who provided the

 services at each business; (2) whether the services were provided to the same patient;

 and (3) how this conduct was fraudulent or how New Century or Defendants benefitted

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 from this conduct. Because the Court cannot determine if evidence concerning FCCS is

 relevant, there is no basis to determine if evidence concerning Dr. Greenbain is

 relevant. Accordingly, the Court reserves ruling on the admissibility of evidence

 concerning FCCS and Dr. Greenbain.

        However, evidence concerning Gerald Funderburg and Sanyani Edwards is

 admissible. The Government says Funderburg may testify that he and Edwards met

 with English and Berry at New Century in late 2009 to discuss the fraud occurring at

 New Century. This evidence directly concerns the fraud charged; thus, it clearly is

 relevant. The probative value outweighs the danger of prejudicial effect; Defendants

 can cross-examine Funderburg concerning the truth of his testimony, and the jury can

 determine the weight to give his testimony. The Court will not exclude evidence

 concerning Funderburg and Edwards.

        C.     Evidence Regarding Creating Fake Files at New Century (Listed
               Evidence: Extended Care and Quality Mental)

        The Government plans to present evidence that English directed employees –

 including Berry, Felicia Marsh, and Gregory Lawrence – to fabricate records for New

 Century’s claimed services. The Government intends to offer background evidence of

 Marsh’s prior relationship with English and Berry; specifically, the Government says

 Marsh will testify that she and Berry first created false records for English in 2002 or

 2003 at Quality Mental and Extended Care.

        The Government says Marsh’s testimony constitutes proper background

 evidence because it “completes the story” of Marsh’s relationship with English and Berry

 and explains their role in the overall scheme at New Century. Without this background


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 evidence, the Government argues, her relationship to the two defendants cannot be

 understood.

        Whether evidence of Marsh’s prior relationship with Berry and English is proper

 background evidence is a close call. See Hardy, 228 F.3d at 748-50 (analyzing Sixth

 Circuit precedent on what constitutes proper background evidence and recognizing

 limitations in terms of temporal proximity, causal relationship, and spatial connections).

 While this evidence involves the same people as the charged conduct and it may

 “complete the story of the charged offense,” the prior acts occurred at least six years

 before the charged conduct began.

        Nevertheless, because the Government offers the evidence of Marsh’s prior

 relationship with English and Berry for a proper purpose under Fed. R. Evid. 404(b), the

 Court does not need to resolve whether it is proper background evidence. This

 evidence is relevant to English and Berry’s knowledge of the Medicare system, and

 knowledge that their conduct was fraudulent. It also demonstrates that their conduct in

 falsifying documents and billing Medicare for the fake services was not a mistake or

 accident. The probative value of this evidence is not substantially outweighed by its

 potential prejudicial effect; the evidence puts Marsh’s relationship with English and

 Berry into context, and it illustrates their knowledge of the Medicare system, which

 directly contradicts Defendants’ expected defense that they believed they were

 providing legitimate services; the Court will not exclude this evidence.



        D.     Conditional Admission of Evidence

        All evidence the Court finds to be admissible at this preliminary stage is

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 admissible on condition that the Government presents evidence sufficient for a juror to

 reasonably find – by a preponderance of evidence – the conditional fact occurred and

 the relevant defendant(s) committed the act. See Adams, 722 F.3d at 822, n.28;

 Huddleston v. United States, 485 U.S. 681, 690 (1988) (holding that a conditional fact

 must only be established by a preponderance of the evidence). If, at the close of the

 Government’s case, a defendant believes the Government failed to establish a

 conditional fact by a preponderance of the evidence, he must move to strike the

 evidence. Huddleston, 485 U.S. at 690, n.7 (“It is, of course, not the responsibility of the

 judge sua sponte to insure that the foundation evidence is offered; the objector must

 move to strike the evidence if at the close of trial the offeror has failed to satisfy the

 condition.”).

        Additionally, any concerns Defendants have regarding the admitted evidence can

 be adequately resolved by proper instruction from the Court.

        E.       Evidence Regarding Gerald Brickerson

        In Berry’s supplemental discovery notice, the Government says Berry

 participated in health care fraud with Gerald Brickerson. The Government fails to

 mention Gerald Brickerson in its Response to Defendants’ Motion in Limine. As such,

 the Court cannot determine the nature of Brickerson’s relationship with Berry. However,

 since Berry was severed from English and Hogan and his trial date has not been

 scheduled, the Court reserves ruling on the admissibility of evidence regarding

 Brickerson. In the meantime, the Government must supplement its brief to address

 Gerald Brickerson.



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        F.     The Government’s Compliance with Discovery Obligations

        In his Supplemental Brief in Support of Defendants’ Motion in Limine, Berry says

 the Court should prevent the Government from offering “other acts” evidence because it

 “has not provided information relating to exculpatory evidence or 404(b) material in any

 organized or delineated manner.”

        The Government has adequately notified Berry of 404(b) evidence it plans to

 offer against him. Berry admits in his brief that the Government provided Defendants

 with 21 discs of material, allowed Berry’s counsel to review documents in its

 possession, and has “been willing to confer and provide numerous verbal descriptions

 of some of the evidence and [its] theories of the instant case.” In addition, counsel for

 the Government says: (1) it produced discovery in December 2012 and has

 supplemented it regularly; (2) it provided impeachment information as contemplated in

 Giglio v. United States, 405 U.S. 150 (1972); and (3) it is not aware of any exculpatory

 evidence to disclose.

        Berry’s arguments fail. The record clearly demonstrates that the Government

 has complied with all of its discovery obligations.

 V.     CONCLUSION

        Defendants’ Motion in Limine is DENIED IN PART. The Court RESERVES

 RULING IN PART, as follows:

        (1) As to all defendants, the Court RESERVES RULING on the admissibility of

 evidence concerning Funderburg Clinical and Community Services, Inc., and Dr. Mark

 Greenbain, one of its operators;



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        (2) As to Berry, the Court RESERVES RULING on the admissibility of evidence

 concerning Gerald Brickerson, an individual named in the Government’s supplemental

 discovery notice to Berry; and

        (3) In all other respects, Defendants’ Motion in Limine is DENIED.




                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: October 9, 2013

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  October 9, 2013.

  S/Linda Vertriest
  Deputy Clerk




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